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EXHIBIT A

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11

)
ENERGY FUTURE HOLDINGS CORP., et ) Case No. 14-10979 (CSS)
al.,' )

)

Debtors. ) (Jointly Administered)
)
) Re: Docket No.

ORDER GRANTING MOTION OF FPL ENERGY PECOS
WIND I, LP, FPL ENERGY PECOS WIND II, LP, AND
NWP INDIAN MESA WIND FARM, L.P. FOR
A DETERMINATION THAT THE AUTOMATIC STAY DOES NOT
PREVENT TERMINATION OF POWER PURCHASE AGREEMENTS

Upon consideration of the Motion, dated June 4, 2014 (the “Motion”) of FPL Energy
Pecos Wind I, LP, FPL Energy Pecos Wind II, LP, and NWP Indian Mesa Wind Farm, L.P. for a
Determination that the Automatic Stay Does Not Prevent Termination of Power Purchase
Agreements; and upon consideration of the Declaration of Mark Tourangeau dated June 4, 2014,
in support thereof; and the Court having found that it has jurisdiction to consider the Motion and
the relief requested therein in accordance with 28. U.S.C. §§ 157 and 1334; and it appearing that
this is a core proceeding pursuant to 28 U.S.C. § 157(b); and it appearing that due and proper

notice of the Motion has been provided; and it appearing that no other or further notice need be

The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the
debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
chapter 11 cases, which are being jointly administered on an interim basis, a complete list of the debtors and the
last four digits of their federal tax identification numbers is not provided herein. A complete list of such
information may be obtained on the website of the debtors’ claims and noticing agent at
http://www.efhcaseinfo.com.

* Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.

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provided; and the Court having reviewed the Motion; and the Court having determined that the
legal and factual bases set forth in the Motion establish just cause for the relief granted herein;
and upon all of the proceedings had before this Court; and after due deliberation and sufficient
cause appearing therefor, it is hereby

FOUND AND ORDERED that, in accordance with section 556 of the Bankruptcy
Code, 11 U.S.C. § 556, the automatic stay of section 362(a) of the Bankruptcy Code, 11 U.S.C.
§ 362(a), does not apply to, and shall not prevent or prohibit, the exercise by each Movant of its
contractual right to liquidate, terminate (including the sending of notices substantially in the
forms attached as Exhibit B to the Motion), or accelerate its respective Luminant PPA with
Luminant due to Luminant’s bankruptcy filing; and it is further

ORDERED that the Court shall retain jurisdiction to hear and determine all matters

arising from this Order.

Dated: , 2014
Wilmington, Delaware

THE HONORABLE CHRISTOPHER SONTCHI
UNITED STATES BANKRUPTCY JUDGE

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